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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-5126 MWF (GJSx)                                      Date: October 19, 2021
 Title       Kyu Hwa Back v. Oban Renaissance, LLC, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge


                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE
              DISMISSAL

        In light of the Notice of Settlement [18] filed October 14, 2021, the Court
 sets a hearing on Order to Show Cause Re Dismissal for NOVEMBER 22, 2021
 at 11:30 a.m. If a stipulated dismissal is filed prior to this date, the matter will be
 taken off calendar and no appearance is needed. All other hearings and
 deadlines are hereby vacated.

         IT IS SO ORDERED.
                                                                          Initials of Preparer: RS/sjm




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